  Methodist Server P20 7/30/2021 6:45:39 PM                 PAGE      1/002       Fax Server
        Case 4:21-cr-00009 Document 234-33 Filed on 12/03/21 in TXSD Page 1 of 2



            HOUSTON
                    L EADING MEDICINE
                                                  FAX TRANSMITTAL
         **** CONFIDENTIALITY NOTICE****
         This facsimile transmission, including attachments to this cover page, is the
         property of Houston Methodist and/or its relevant affiliates and may contain
         confidential and privileged material for the sole use of the intended recipient (s).
         Any review, use, distribution, or disclosure by others is strictly prohibited. If you
         are not the intended recipient (or are not authorized to receive for the recipient),
         please contact the sender or reply to Houston Methodist at
         privacy@houstonmethodist.org and return all copies of the facsimile to Houston
         Methodist. The sender or privacy@houstonmethodist.org can provide you with
         mailing instructions. Otherwise, this facsimile may be destroyed using a cross-
         shredder.

               To:     Michael Weiner, MD                   From:      Hm Interface, Radiology
                                                                       Results Incoming
                Fax: 212-535-3259                              Fax:
                                                             Phone: 713-441-9346
                                                              Dept: HOUSTON METHODIST
                                                                    HOSPITAL OPC MRI

         NOTES:


         Date and time of transmission: 713012021 6:45:24 PM
         N umber of pages including this cover sheet: 2




CONFIDENTIAL                                                       RTBrockman_Medical_Records_0001778
                                            DX-43, page 1 of 2
  Methodist Server P20 7/30/2021 6:45:39 PM                                PAGE      2/002        Fax Server
              Case 4:21-cr-00009 Document 234-33 Filed on 12/03/21 in TXSD Page 2 of 2




  M RI BRAIN WO CONTRAST                                                                                  et,    :Kt Is:
  Brockman, Robert T
  M RN: 003768603, Legal Sex: Male,               (80 yrs), Outpatient
  Accession #: IM33029596



  Final Result                                                                     Appointment Info
  EXAMINATION: MRI BRAIN WO CONTRAST                                                Exam Date

  CLINICAL HISTORY: G20 Parkinson's disease, R41.89
                                                                                    n 7/30/2021
  Other symptoms and signs involving cognitive
                                                                                    Department
  functions and awareness, g20
                                                                                    HOUSTON METHODIST HOSPITAL OPC
                                                                                    M RI
  COMPARISON:        CT head 6/7/2021
                                                                                    OD 713-441-9346

  TECHNIQUE: Multisequence multiplanar MRI images of
                                                                                    9  6445 Main St.
                                                                                        HOUSTON TX 77030-1502
  the brain were obtained without IV contrast.


                                                                                    Reason for Exam
  FINDINGS:                                                                         g20

  No evidence of acute intracranial hemorrhage, mass,
  mass effect, acute infarct or midline shift.
                                                                                   Diagnoses
                                                                                    Parkinson's syndrome (HCC)
  Moderate diffuse cerebral volume loss with                                        Cognitive impairment
  proportionate ventricular prominence. Mild chronic
  microvascular ischemic change.No abnormal
  susceptibility. Basal cisterns are clear. Major
                                                                                   Providers
  intracranial flow voids are maintained.
                                                                                    PCP
                                                                                    James L. Pool, MD
   Bilateral lens extractions. Visualized paranasal                                SI  713-798-0180
  sinuses and mastoid air cells are clear.                                         9   6620 Main St.
                                                                                       Houston TX 77030

  IMPRESSION:                                                                      Ordering Provider
                                                                                    Michael Weiner, MD
  1. No acute intracranial abnormality.                                            (c)212-535-9286
                                                                                    9 224 WEST 30TH STREET SUITE 806
                                                                                       N EW YORK NY 10001

                                                                                    Attending Provider
                                                                                    Michael Weiner, MD
                                                                                    ® 212-535-9286
  HMRM-MPHYBXN
      Signed by Northcutt, Benjamin Gordon, MD on 7/30/2021 6:42 PM
                                                                                    9  224 WEST 30TH STREET SUITE 806
                                                                                       N EW YORK NY 10001




  Brockman, Robert T MRIV 003768603 ACC: IM33029596 MRI Bran We Contrast                                     Page 1 of 1 •




CONFIDENTIAL                                                                      RTBrockman_Medical_Records_0001779
                                                         DX-43, page 2 of 2
